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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

DAVID WILEY,                                        §
                                                    §
                Plaintiff,                          §
                                                    §
v.                                                  §                    1:18-CV-930-RP
                                                    §
TEXAS STATE UNIVERSITY, VINCENT                     §
LUIZZI, KAREN MEANEY, ANN                           §
WATKINS, and CHARMAINE                              §
MAZZANTINI,                                         §
                                                    §
                Defendants.                         §

                                               ORDER

        Before the Court is a Motion to Dismiss filed on November 29, 2018, by Defendants Texas

State University System (“TSUS”), Texas State University (“the University”), Vincent Luizzi

(“Luizzi”), Karen Meaney (“Meany”), Ann Watkins (“Watkins”), and Charmaine Mazzantini

(“Mazzatini”) (collectively, “Defendants”). (Dkt. 30). Plaintiff David Wiley (“Wiley”) filed a

response, (Dkt. 33), and Defendants filed a reply, (Dkt. 34). Having considered the parties’

submissions, the record, and the relevant law, the Court will grant Defendants’ motion.

                                         I. BACKGROUND

        Wiley is a tenured professor at Texas State University who is currently on administrative

leave after four university employees alleged that he sexually harassed them over a period of years.

(See 2d Am. Compl., Dkt. 14). Wiley asserts that the University’s administrative procedures to

investigate and resolve the allegations violate his due process rights under the Fourteenth

Amendment to the United States Constitution and Title IX of the Education Amendments Act of

1972, 20 U.S.C. § 1681, et. seq. (“Title IX”). (Id. at 18–28). Wiley also asserts claims under Title IX


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for selective enforcement, sexual harassment, and sex discrimination, and state law claims that

individual defendants acted ultra vires and tortiously interfered with his contract with the University.

(Not. Removal, Dkt. 1; 2d Am. Compl., Dkt. 14). Wiley’s claims against the individual defendants

are against them in their official capacities: Luizzi, as Interim Title IX Coordinator; Meaney, as

Department Chair in the Health and Human Performance Department at Texas State University;

Watkins, as head of the Due Process Hearing tribunal; and Mazzantini, as counsel for Texas State

University. (2d Am. Compl., Dkt. 14, at 2–3). Wiley seeks monetary damages and injunctive and

declaratory relief. (Id. at 1). Wiley bases these claims on the following allegations.

        On March 27, 2018, the Dean of Texas State University advised Wiley that the Title IX

office had concluded four investigations into sexual misconduct allegations against him. (Carpenter

Letter, Dkt. 14-4, at 40; see also Reports on Allegations of Sexual Harassment, Dkt. 14-4, at 41–93).

Dean Carpenter advised Wiley that the recommended sanction was termination. (Id.). Wiley alleges

that the Title IX investigation findings were premature and based on “thinly-supported reports,” and

that the investigation was in fact a pretext to terminate Wiley in “retaliation for operational

disagreements” with Department Chair Karen Meany. (2d Am. Compl., Dkt. 14, at 4). Wiley alleges

that Meany, acting as Department Chair, has biased the Title IX investigation because she served as

a witness in all four investigations, and helped to identify various witnesses to support the

complainants’ allegations during the Title IX investigation. (Id. at 16).

        Because Wiley has tenure, he is entitled to a Faculty Due Process Hearing (“Due Process

Hearing”) to appeal the investigation findings and the recommended sanction. (Report on

Allegations of Sexual Harassment, Dkt. 14-4, at 53). The Due Process Hearing “review[s] the

investigation and the appropriateness of the Sanction for significant procedural errors or




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omissions.”1 (Id.). On April 6, 2018, Wiley appealed, and the University appointed a tribunal for a

Due Process Hearing. (2d Am. Compl, Dkt. 14, at 4).

        Wiley alleges that the proceedings thus far have failed to meet constitutional due process

standards. Specifically, he alleges that the University did not give him an opportunity “to submit

comments regarding the allegations” before concluding the investigation and issuing a report. (Id. at

6). Wiley states that the University has withheld access to his email account and withheld documents

relevant to his self-defense. (Id. at 5–6). Wiley states that since March 2018, he has repeatedly

requested certain evidence but only received a portion of the materials he believes to be relevant.

(Id. at 6). He also requested records through the Texas Public Information Act (“TPIA”), but these

requests “yielded equally unsuccessful results.”2 (Id.). Wiley alleges that when he was first informed

of the investigation findings and recommended sanction, he was not given a copy of the report. (Id.).

He has since received a copy. (Id. at 5). Additionally, Wiley states that although the deadline to

exchange evidentiary materials for the Due Process Hearing has passed, Mazzantini has not

disclosed the questions she plans to ask witnesses. (Id.). He also contends that one individual who

filed a complaint against him was an IT specialist and may have had access to his email account. (Id.

at 7). He alleges that the University “continues to withhold relevant evidence” and engage in



1 The Due Process Hearing tribunal then issues a recommendation to “approve, reject, modify, or remand the
Finding and/or Sanction,” which is forwarded to the University President. (Report on Allegations of Sexual
Harassment, Dkt. 14-4, at 53). “When the President finds substantial doubt about the thoroughness, fairness,
and/or impartiality of the investigation or determines there is insufficient evidence to support the
recommended Finding, he or she may remand the matter to the Title IX Coordinator for further investigation
and/or other action, or may reject the recommended Finding(s) or Sanction(s).” (Id. at 53–54). The President
ultimately issues a written, final decision. (Id. at 54).
2 The Open Records Division of the Attorney General’s Office issued a letter ruling to Texas State University
on October 15, 2018, which advised the University that it must withhold certain material related to the
investigations pursuant to common-law privacy law and the holding in Morales v. Ellen, 840 S.W.2d 519 (Tex.
App.—El Paso 1992, writ denied). (Letter Ruling of Oct. 15, 2018, Dkt. 14-3, at 43). The letter ruling advised
that the University must release all other materials under request, other than materials subject to privilege or
copyright, and only with appropriate redactions under the Family Educational Rights and Privacy Act
(“FERPA”), 20 U.S.C. § 1232g(a)(1)(A). (Id. at 39, 43).

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“dilatory tactics.” (Id. at 9). He submits that he cannot adequately prepare for the Due Process

Hearing. (Id.).

        As of the date of this order, the Due Process Hearing has not taken place. The hearing was

initially set for September 7, 2018. (Id. at 6). The parties agreed to reset the hearing for October 17,

2018. (Id.). Before the hearing took place, on October 10, 2018, Wiley filed this action in the 274th

Judicial District Court of Hays County, Texas, as Cause No. 18-2329. (Not. Removal, Dkt. 1, at 2).

The Hays County court entered a temporary restraining order (“TRO”) enjoining the Due Process

Hearing pending a hearing on Wiley’s motion for preliminary injunction. (Hays County TRO, Dkt.

14-3, at 34–35).

        Defendants removed to federal court on October 29, 2018. (Not. Removal, Dkt. 1, at 1). On

November 15, 2018, Wiley filed a motion for a TRO and preliminary injunction, seeking to

postpone the Due Process Hearing until this Court hears his motion for a preliminary injunction or

the merits of his case. (Mot. TRO & Prelim. Inj., Dkt. 16). This Court declined to enter a TRO,

finding no substantial risk of imminent, irreparable harm, and set a hearing on the motion for a

preliminary injunction. (Order Denying TRO, Dkt. 23). On January 16, 2019, the Court held a

hearing on the motion for a preliminary injunction, which remains pending.

        On November 29, 2018, Defendants filed a motion to dismiss Wiley’s claims under Federal

Rule of Procedure 12(b)(1) and 12(b)(6), asserting that his claims are unripe and fail to state claims

upon relief may be granted. (Mot. Dismiss, Dkt. 30). The Court now turns to that motion.

                                      II. LEGAL STANDARD

                   A. Lack of Subject Matter Jurisdiction Under Rule 12(b)(1)

        Under Rule 12(b)(1), a court may dismiss a complaint for “lack of subject-matter

jurisdiction.” Fed. R. Civ. P. 12(b)(1). A case is properly dismissed for lack of subject matter

jurisdiction when the court lacks “the statutory or constitutional power to adjudicate the case.” Home


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Builders Ass’n of Miss., Inc. v. City of Madison, Miss., 143 F.3d 1006, 1010 (5th Cir. 1998). The court may

“weigh the evidence and satisfy itself” that subject matter jurisdiction exists. MDPhysicians & Assocs.,

Inc. v. State Bd. Of Ins., 957 F.2d 178, 181 (5th Cir. 1992) (quoting Williamson v. Tucker, 645 F.2d 404,

413 (5th Cir. 1981)). The court may dismiss a complaint for lack of jurisdiction based on: (1) the face

of the complaint; (2) the complaint supplemented by undisputed facts from the record; and (3) the

complaint supplemented by undisputed facts and the court’s resolution of disputed facts. Montez v.

Dep’t of Navy, 392 F.3d 147, 149 (5th Cir. 2004). The party asserting jurisdiction bears the burden of

proof. Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001). Dismissal of a plaintiff’s case

under 12(b)(1) is not a determination on the merits and does not prevent a plaintiff from pursuing a

claim in a court that has proper jurisdiction. Id. A court should grant a 12(b)(1) motion to dismiss

only if it appears certain that the plaintiff cannot prove any set of facts that would entitle him to

recovery. Morris v. Thompson, 852 F.3d 416, 419 (5th Cir. 2017).

        Ripeness is “a constitutional prerequisite to the exercise of jurisdiction.” Shields v. Norton, 289

F. 3d 832, 835 (5th Cir. 2002); see also Sommers Drug Stores Co. Employee Profit Sharing Trust v. Corrigan,

883 F.2d 345, 348 (5th Cir. 1989). “A court should dismiss a case for lack of ‘ripeness’ when the case

is abstract or hypothetical.” Lower Colo. River Auth. v. Papalote Creek II, LLC, 858 F.3d 916, 924 (5th

Cir. 2017), cert. denied, 138 S. Ct. 747 (2018) (quoting New Orleans Pub. Serv., Inc. v. Council of New

Orleans, 833 F.2d 583, 586 (5th Cir. 1987)). “To determine if a case is ripe for adjudication, a court

must evaluate (1) the fitness of the issues for judicial decision, and (2) the hardship to the parties of

withholding court consideration.” Texas v. United States, 497 F.3d 491, 498 (5th Cir. 2007) (cleaned

up). “The fitness and hardship prongs must be balanced.” Id. (citing Am. Forest & Paper Ass’n v.

EPA, 137 F.3d 291, 296 (5th Cir. 1998)). Regarding fitness for adjudication, “[a] case is generally

ripe if any remaining questions are purely legal ones; conversely, a case is not ripe if further factual

development is required.” New Orleans, 833 F.2d at 587 (citing Thomas v. Union Carbide Agric. Prods.


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Co., 473 U.S. 568, 581 (1985). “A claim is not ripe for adjudication if it rests upon ‘contingent future

events that may not occur as anticipated, or indeed may not occur at all.’” Texas, 523 U.S. at 300

(quoting Thomas, 473 U.S. at 580–81). Regarding the hardship analysis, “[t]he Supreme Court has

found hardship to inhere in legal harms, such as the harmful creation of legal rights or obligations;

practical harms on the interests advanced by the party seeking relief; and the harm of being forced . .

. to modify one’s behavior in order to avoid future adverse consequences.” Choice Inc. of Tex. v.

Greenstein, 691 F.3d 710, 715 (5th Cir. 2012).

                           B. Failure to State a Claim Under Rule 12(b)(6)

        Pursuant to Rule 12(b)(6), a court may dismiss a complaint for “failure to state a claim upon

which relief can be granted.” Fed. R. Civ. P. 12(b)(6). In deciding a 12(b)(6) motion, a “court accepts

‘all well-pleaded facts as true, viewing them in the light most favorable to the plaintiff.’” In re Katrina

Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir. 2007) (quoting Martin K. Eby Constr. Co. v. Dall. Area

Rapid Transit, 369 F.3d 464, 467 (5th Cir. 2004)). “To survive a Rule 12(b)(6) motion to dismiss, a

complaint ‘does not need detailed factual allegations,’ but must provide the [plaintiffs’] grounds for

entitlement to relief—including factual allegations that when assumed to be true ‘raise a right to

relief above the speculative level.’” Cuvillier v. Taylor, 503 F.3d 397, 401 (5th Cir. 2007) (citing Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007)). That is, “a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570).

        A claim has facial plausibility “when the plaintiff pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id. “The

tenet that a court must accept as true all of the allegations contained in a complaint is inapplicable to

legal conclusions. Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Id. Generally, a court ruling on a 12(b)(6) motion may rely


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on the complaint, its proper attachments, “documents incorporated into the complaint by reference,

and matters of which a court may take judicial notice.” Dorsey v. Portfolio Equities, Inc., 540 F.3d 333,

338 (5th Cir. 2008) (citations and internal quotation marks omitted). Because the court reviews only

the well-pleaded facts in the complaint, it may not consider new factual allegations made outside the

complaint. Id. “[A] motion to dismiss under 12(b)(6) ‘is viewed with disfavor and is rarely granted.’”

Turner v. Pleasant, 663 F.3d 770, 775 (5th Cir. 2011) (quoting Harrington v. State Farm Fire & Cas. Co.,

563 F.3d 141, 147 (5th Cir. 2009)).

                                              III. DISCUSSION

                                              A. Federal Claims

           Defendants submit that Wiley’s federal claims are not ripe. (See Mot. Dismiss, Dkt. 30, at 6–

8, 16). This Court agrees.

                                             1. Due Process Claims

           Wiley asserts procedural and substantive due process claims. Wiley contends that the

University’s administrative procedures to investigate and resolve the allegations against him violate

Wiley’s due process rights under the Fourteenth Amendment of the United States Constitution and

Title IX. (2d Am. Compl., Dkt. 14, at 18–28).

           A procedural due process claim “is not ripe until the process complained of has reached its

completion.” Doe v. Univ. of Tex. at Austin, No. 1:18-cv-85-RP, at *3 (W.D. Tex. May 15, 2018).

“Because the remedy for a procedural due process claim is more process, it makes little sense to

adjudicate such a claim before the process is complete.” Id. at *4. Here, the parties agree: Because

Wiley has tenure, he is entitled to a Faculty Due Process Hearing, but that hearing has not yet taken

place.3 Wiley seeks an injunction to prevent the Due Process Hearing from taking place before this

Court can evaluate the University’s procedures. (Mot. Prelim. Inj., Dkt. 16). Because the process


3   (See Report on Allegations of Sexual Harassment, Dkt. 14-4, at 53).

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Wiley seeks to challenge is not yet complete, the result of the University’s administrative procedures

is entirely speculative. The Due Process Hearing tribunal might “reject, modify, or remand” the

investigation findings and recommended sanction. (Report on Allegations of Sexual Harassment,

Dkt. 14-4, at 53). Afterwards, the University President might “find substantial doubt about the

thoroughness, fairness, and/or impartiality of the investigation,” “determine there is insufficient

evidence to support the recommended Finding,” “remand the matter to the Title IX Coordinator

for further investigation and/or other action,” or entirely “reject the recommended Finding(s) or

Sanction(s).” (Id. at 53–54). For now, any violation of Wiley’s procedural rights depends on

“contingent future events that may not occur as anticipated, or indeed may not occur at all.” See

Texas, 523 U.S. at 300. As a result, Wiley’s procedural due process claims are not ripe.

        Wiley’s substantive due process claims are also not ripe. In a substantive due process or

facial constitutional challenge, the same test applies: “[a] case is generally ripe if any remaining

questions are purely legal ones; conversely, a case is not ripe if further factual development is

required.” Choice Inc., 691 F.3d at 715. Here, more factual development is undoubtedly required

before any factfinder can evaluate Texas State University’s policies and the ultimate disciplinary

action taken against him—which may turn out to be no disciplinary action at all. Additionally, a

court should dismiss “pre-enforcement” substantive due process challenges as unripe where a

plaintiff “fail[s] to show that hardship will result from withholding court consideration at this time.”

Choice Inc., 691 F.3d at 712. Wiley contends that continuing with the University Due Process Hearing

places his reputation and future career opportunities at risk of irreparable harm. (2d Am. Compl,

Dkt. 14, at 21). But those potential harms may be alleviated through the University’s appeal

processes. Wiley has not shown that hardship will result from withholding court consideration at

this time.




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                                      2. Remaining Title IX Claims

          Wiley also states claims under Title IX for erroneous outcome, selective enforcement, hostile

environment based on sex discrimination, and deliberate indifference. (Id. at 26–31). The Court finds

that these claims are not ripe for the same reasons as his due process claims. Further factual

development of Wiley’s Title IX claims is necessary because “contingent future events that may not

occur as anticipated, or indeed may not occur at all” once he completes the University’s

administrative process. See Texas, 523 U.S. at 300. Wiley has not shown any reason to depart from

the hardship analysis above. The Court will therefore dismiss Wiley’s remaining Title IX claims as

unripe.

          Because Wiley’s federal claims are not ripe, the Court will dismiss those claims under Rule

12(b)(1) for lack of subject matter jurisdiction.

                                          B. State Law Claims

          Wiley also brings claims under Texas law alleging (1) that Luizzi, Meany, Mazzantini, and the

Tribunal itself acted ultra vires through the Title IX investigation and University proceedings thus far,

and (2) that Meany tortiously interfered with Wiley’s employment contract by causing complainants

to file sexual harassment complaints against Wiley. (2d Am. Compl., Dkt. 14, at 9–18).

                                  1. Jurisdiction Over State Law Claims

          The Court’s jurisdiction over Wiley’s state law claims is supplemental to its federal question

jurisdiction. 28 U.S.C. § 1367(a). Because the Court will dismiss Wiley’s federal claims with this

Order, the Court has discretion whether to retain jurisdiction over any remaining state law claims.

“A district court’s decision whether to exercise [supplemental] jurisdiction after dismissing every

claim over which it had original jurisdiction is purely discretionary.” Carlsbad Tech., Inc. v. HIF Bio,

Inc., 556 U.S. 635, 639–40 (2009); see also 28 U.S.C. § 1367(c) (“The district courts may decline to

exercise supplemental jurisdiction over a claim . . . if . . . the district court has dismissed all claims


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over which it has original jurisdiction.”); Osborn v. Haley, 549 U.S. 225, 245 (2007) (“Even if only

state-law claims remained after resolution of the federal question, the District Court would have

discretion, consistent with Article III, to retain jurisdiction.”).

        Because Wiley’s state law claims and his federal claims arise from common facts, the Court

will exercise its discretionary supplemental jurisdiction over the remaining state law claims.

                                     2. Ripeness of State Law Claims

        A federal court exercising supplemental jurisdiction over state law claims must apply the

substantive law of the state in which it sits. Sommers Drug Stores Co. Empl. Profit Sharing Tr., 883 F.2d

345, 353 (5th Cir. 1989) (citing Erie R.R. v. Tompkins, 304 U.S. 64, 58 (1938)). As a result, this Court

must apply Texas law to Wiley’s state law claims. In resolving issues of Texas state law, federal

courts look to decisions of the Texas Supreme Court. Hux v. S. Methodist Univ., 819 F.3d 776, 780

(5th Cir. 2016). If that court has not ruled on the issue, the federal court must make what is known

as an “Erie guess”—that is, it must predict what the Texas Supreme Court would do if faced with

the facts currently before the federal court. Id. Generally, absent a decision by Supreme Court of

Texas, state intermediate courts’ decisions are the strongest indicator of what a state supreme court

would do. Id. at 780–81.

        Under Texas law, “[r]ipeness, like standing, is a threshold issue that implicates subject matter

jurisdiction.” Patterson v. Planned Parenthood of Houston & Se. Texas, Inc., 971 S.W.2d 439, 442 (Tex.

1998) (citing Mayhew v. Town of Sunnyvale, 964 S.W.2d 922, 928 (Tex. 1998)). “The doctrine has a

pragmatic, prudential aspect that is directed toward conserving judicial time and resources for real

and current controversies, rather than abstract, hypothetical, or remote disputes.” Id. (cleaned up).

“At the time a lawsuit is filed, ripeness asks whether the facts have developed sufficiently so that an

injury has occurred or is likely to occur, rather than being contingent or remote.” Id. Ripeness under

Texas law thus closely resembles the federal standard: “[a] case is not ripe when its resolution


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depends on contingent or hypothetical facts, or upon events that have not yet come to pass.” Id. at

443.

        All of Wiley’s state law claims are unripe because they rely on facts that are all but certain to

develop further as the University continues its Title IX proceedings. The Court briefly outlines

Wiley’s state law claims. First, to state an ultra vires claim, “a suit must not complain of a government

officer’s exercise of discretion, but rather must allege, and ultimately prove, that the officer acted

without legal authority or failed to perform a purely ministerial act.” City of El Paso v. Heinrich, 284

S.W.3d 366, 372 (Tex. 2009). Wiley alleges that Luizzi “acted outside of his authority by failing to

apply the appropriate rules when investigating Title IX complaints against [Wiley],” and failing to

update Title IX policies as appropriate. (2d Am. Compl., Dkt. 14, at 10–11). Wiley alleges that

Meany acted ultra vires by identifying and “cultivating” witnesses “to support the complainants’

allegations.” (Id. at 12–13). Wiley contends that the Tribunal itself has “coopted” the University

General Counsel’s responsibilities in conducting the Title IX proceedings. (Id. at 15). Finally, Wiley

asserts that Mazzantini, as General Counsel, “has acted and continues to act without the necessary

authority” to participate in the Title IX proceedings because she effectively represents both the

University and the four complainants. (Id. at 16).

        Second, the elements of a tortious inference claim are: “(1) an existing contract subject to

interference, (2) a willful and intentional act of interference with the contract, (3) that proximately

caused the plaintiff’s injury, and (4) caused actual damages or loss.” Prudential Ins. Co. of Am. v. Fin.

Review Servs., Inc., 29 S.W.3d 74, 77 (Tex. 2000) (citing ACS Investors, Inc. v. McLaughlin, 943 S.W.2d

426, 430 (Tex. 1997)). Wiley alleges that Meany wrongfully interfered with Wiley’s employment

contract by causing complainants to file sexual harassment complaints against him. (2d Am. Compl.,

Dkt. 14, at 16–18).




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        Even if Wiley’s allegations adequately stated his respective state law claims,4 all of his claims

rely on facts which may develop significantly over the course of the University’s Due Process

Hearing and full appeals process. The Court finds that the facts have not “developed sufficiently” to

evaluate the alleged conduct of the individual defendants or any alleged injury to Wiley. See Patterson,

971 S.W.2d at 442 (citing Mayhew, 964 S.W.2d at 928). Accordingly, the Court will dismiss Wiley’s

state law claims as unripe.



                                             V. CONCLUSION

        For the reasons given above, it is ORDERED that Defendants’ Motion to Dismiss, (Dkt.

30), is GRANTED. Wiley’s claims are DISMISSED WITHOUT PREJUDICE.

        IT IS FURTHER ORDERED that Wiley’s Motion for a Preliminary Injunction, (Dkt.

16), is DENIED AS MOOT.

        SIGNED on January 24, 2019.



                                                    ________________________________
                                                    ROBERT PITMAN
                                                    UNITED STATES DISTRICT JUDGE




4 The Court does not decide at this time whether the pleadings adequately state ultra vires or tortious
interference claims.

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